Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 1 of 16 PageID #: 271




 Towaki Komatsu
 802 Fairmount PL Apt. 4B
 Bronx, NY 10460
 Tel: 718-450-6951
 E-mail: Towaki Komatsu@vahoo.com



 October 8, 2019

 United States District Judge Margo Brodi
 United States District Court
 225 Cadman Plaza East
 Brooklyn, New York 11201

        Re:     Community Housing Improvement Program v. City of New York,
                No. 19-CV-4087(MKB)(RML)(E.D.N.Y.)


 Dear Judge Brodi,

 The letter dated 10/4/19 that Michael Berg ofthe New York State Attorney General's filed in

 this action is a nullity. This is mainly because he didn't request my consent to receive any filings

 in this action fi-om him via e-mail and I haven't consented to that. Since he is an attorney, this

 Court mustn't grant him any leniency with respect to complying with all applicable procedures in

 relation to this action that includes proper service ofpapers. Furthermore, attorneys specialize in

 lying, misleading, expressing half-truths, conveniently omitting material facts, and

 gamesmanship. I am not among Mr. Berg's ilk in that respect.



 Mr. Berg neglected to inform this court about the following pertinent facts that relate to the

 remarks that he expressed in the letter dated 10/4/19 that I received fi*om him via e-mail at 5:12

 pm on 10/4/19:

 1. I haven't been contacted by the plaintiffs in this action nor their attorneys and have no reason

    to believe that views expressed by Mr. Berg in his communications to me reflect their views.



                                             Page 1 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 2 of 16 PageID #: 272



  2. The following requests for relief are among those specified by the plaintiffs in this action on

     page 119 and 120 in the complaint that was filed in this action:

          a. "Declare the Rent Stabilization Laws to be an unlawful violation ofDue Process"

          b. "Enjoin the application and enforcement ofthe Rent Stabilization Laws as a violation

             ofDue Process"


     I share those requests for reliefin this action, but for reasons that aren't shared by the

      plaintiffs. This fact directly, decisively, and entirely rebuts the following firaudulent claim

     that Mr. Berg expressed in his letter dated 10/4/19:

         "Intervention is unwarranted because Movant has failed to establish any nexus between
         his stated concerns and the subject matter ofthis action."

     Due to Mr. Berg's deceit, it seems really clear that he violated FRCP Rule 11 by having

     expressed the preceding fi-audulent claim. For that reason,I urge this Court to swiftly impose

      harsh sanctions against him that will befit the public's interest by serving as an effective

      deterrent against him and other attorneys fi'om making fraudulent representations to this

      Court and other judges.

  3. I articulated sufficient grounds in the letter dated 9/30/19 that I filed in this action for this

      Court to enable me to appear as an amicus curiae in this action in the event that it declines

      my motion to otherwise intervene in it.

  4. Prior to commencing this action, the New York Daily News published a news article that is

      entitled "De Blasio Holds first Townhall Meeting of Mayoralty in Manhattan, Talks Rent and

      Affordable Housing" that was written by someone named Jennifer Fermino while she was

      then ajournalist. That article concerned a public town hall meeting that New York City

      Mayor Bill de Blasio conducted and appears on the Internet at the following address:




                                               Page 2 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 3 of 16 PageID #: 273



        https://www.nvdailvnews.com/news/politics/de-blasio-holds-townhall-meeting-
        manhattan-article-1.2398051


    The following is a relevant quote from that news article:

       "Joseph Strasburg, president ofthe landlord group Rent Stabilization Association,
       accused the mayor of using the town hall as a "re-election rally.""

    One ofthe plaintiffs in this action is the Rent Stabilization Association. Mr. Strasburg

    expressed the preceding remark long before I began to be illegally prevented from attending

    such public town hall meetings and public resource fair meetings that the Mayor conducted

    after 3/15/17 and otherwise illegally subjected to discrimination with respect to those public

    forums by having my attendance confined to overflow rooms in retaliation for valid critical

    remarks that I expressed in accordance with my First Amendment rights to the Mayor on

    3/15/17 during the public town hall meeting that he conducted with New York City

    Councilman Corey Johnson while that meeting was recorded on video. My critical remarks to

    the Mayor then were largely about housing laws, housing judges, and other housing matters

    while much ofthose remarks were directed against New York City Human Resources

    Administration Commissioner Steven Banks("Mr. Banks")and HRA's business partners. In

    the letter dated 9/11/19 that I filed in this action,I alluded to the fact that I reside in a

    building that is managed by Urban Pathways,Inc.("Urban")as a result of a contract that it

    has with HRA to do so. TTie following is a link to a copy ofHRA's contract that I have made

    available on the Internet with Urban for managing the building in which I reside that I

    received from HRA in response to a Freedom ofInformation Law("FOIL")demand that I

    submitted to HRA:


        https://drive.google.com/open?id=lfCuThHwbHSpRkN4UPav2Werat-9hgqGl




                                             Page 3 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 4 of 16 PageID #: 274



     The terms ofthat contract confirm that HRA is authorized to terminate Urban's role in

     managing the building in which I reside and replace it with a different vendor for that

     purpose in the event that Urban defaults on its contractual obligations with regard to that

     building. Although Urban has repeatedly and materially done so to my detriment and other

     military veterans who reside in that building partly by failing to have conditions in that

     building properly maintained and I have clearly and repeatedly apprised Mr. Banks and other

     government officials that include the Mayor,New York City Councilmen Stephen Levin and

     Robert Comegy,Jr., and United States District Judge William Pauley ofthis fact while

     talking to them face-to-face, HRA has negligently allowed Urban to continue to act as the

     landlord ofthe building in which I reside and other government officials that include those I

     just mentioned have similarly ignored what I have expressed to them about the building in

     which I reside. While writing this letter, I'm doing so without hot water in the apartment

     where I reside for the second straight day while other distinctive housing deficiencies

     requiring repairs are clearly evident in the ceiling located in the hallway directly outside of

     my apartment's entrance. Some ofthe deficiencies that persist in the building in which I

     reside date back to 2016. Attached to this letter is an e-mail message that I sent to Mr. Banks

     today. That e-mail confirms that I reported to him the fact that I don't have hot water where I

     reside in violation of applicable law and that I asserted a legal claim against HRA about an

     earlier problem in 2016 with a lack of hot water where I reside because of HRA's legal duty

     to provide proper oversight of Urban in regards to how it manages the building in which I

     reside.


  5. On 9/30/19, United States District Judge Loma Schofield issued a decision that was mostly

     in my favor in to Komatsu v. City ofNew York. S.D.N.Y. No. 18 Civ. 3698(LGS)(GWG).




                                             Page 4 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 5 of 16 PageID #: 275




    That decision addressed illegal practices by members ofthe Mayor's NYPD security detail,

    members ofthe Mayor's Community Affairs Unit, New York State court officers who

    conspired with one another to illegally prevent me from attending the public town ball

    meeting that the Mayor conducted with other government officials on 4/27/17 in Long Island

    City in Queens and the public resource fair meeting that the Mayor conducted on 5/23/17

    inside ofthe Bronx Supreme Court while those meetings were public forums. The following

    is a pertinent excerpt ofremarks that Judge Schofield expressed in her 9/30/19 decision and

    appears in the footnote section shown on page 2 in that decision:

         The Complaint for the purpose ofthis motion includes the Second Amended Complaint
       (l:18-cv-3698, ECF Dkt.("Dkt. No.")45); Plaintiffs pre-motion letter(Dkt. No. 66);
       Affidavit ifTowaki Komatsu,swom to May 2,2019(Dkt 176); Affidavit ofTowaki
       Komatsu,swom to May 2,2019(DkL No. 177); and four letters from Plaintiffto the
       Court(Dkt. Nos. 124,195,210,221)."

    It appears that Judge Schofield used the preceding excerpt from her 9/30/19 decision to

    identify the entirety of my submissions in that action that she a)considered for the purpose of

    issuing her 9/30/19 decision in it as well as b)excluded from that consideration. On 4/5/19,1

    submitted an affidavit dated 4/3/19 in Komatsu v. City ofAigw York that I completed on

    4/3/19. That affidavit corresponds to docket number 150 «Bll0i in that action. The following

          rtin t        tfr            and page 21- thtaffida-t




                                          Page 5 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 6 of 16 PageID #: 276




          1.    Prior to trying to attend the public resource fair meeting that the Mayor held on 5/23/17,1
                recorded a video with a cell phone at 8:28 am on 5/23/17 in the building in which I reside. I
                have uploaded a copy ofthat video recording on the Internet at the following address that
                corresponds to Google Drive and anyone may view:

                      https://drivc.ROOglc.com/opcn?id=lw8KD51jsvNm8wups7rxWJN21tCqomhVT

                That video recording shows the following:

                      a. The ceiling above the hallway located directly outside of my apartment appeared. The
                         paint applied to that ceiling is shown discolored. Also,the condition ofthe paint on
                         that ceiling was cracked and peeling. Also, there was a hole in that ceiling tben that
                         enabled rain to leak through that hole and diip on that hallway's floor that caused a
                         slipping hazard for people in that building. Nearly two years later, the problems with
                         that ceiling still have not been fixed.

     Judge Schofleld irresponsibly and impennissibly didn't include any information about the

     preceding excerpt in her 9/30/19 decision. On 8/29/19,1'titod a-

                                                    =^.


                                       11 in tliii pi ffifr(1in£i munaijit Tlir following is another excerpt

     from Judge Schofield's 9/30/19 decision that corresponds to remarks that she expressed on

     page 6 in it:

                                                                                                On a Rule


           12(b)(6) motion,"all factual allegations in the complaint are accepted as tnie and all inferences

           are diawn in the plaintiffs favor." Apotex Inc. v.Acorda Therapeutics, Inc., 823 F.3d 51,59(2d

           Cir. 2016)(internal quotation marks omitted).

                     Courts must "liberally constnie pleadings and briefs submitted by pro se litigants, reading

           such submissions to raise the strongest arguments they suggest." McLeod v. Jewish Guildfor the

           Blind. 864 F.3d 154, 156(2d Cir. 2017)(internal quotation marks omitted). "We afford a pro se

           htigant 'special solicimde' by interpreting a complaint filed pro se to raise the stiongest claims

           that it suggests." Hardcrway v. Hartford Pub. Works Dep't, 879 F.3d 486,489(2d Ch. 2018)

          (internal quotation marks omitted).



                                                 Page 6 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 7 of 16 PageID #: 277




    The following is a third excerpt from Judge Schofield's 9/30/19 decision that corresponds to

    remarks that she expressed on page 10 in it:

       "At this stage ofthe litigation, the court accepts *the complaint's factual allegations as
       true and draw[s] all reasonable inferences in the plaintiffs' favor"

    The preceding three excerpts from Judge Schofield's decision are sufficient to establish that

    she blatantly lied in her 9/30/19 decision by having claimed in it that she had accepted my

    complaint's factual allegations as true and drew all reasonable inferences in my favor in that

    action. In order for her to have done, she needed to incorporate the sum and substance ofthe

    information that is shown within the excerpt that appears at the top of page 6 in this letter in

    her 9/30/19 decision. The video recording that is referenced in that excerpt was recorded 1

    hour and 1 minute before I was recorded on 5/23/17 by a video security camera that is

    controlled by the New York State Office of Court Administration("OCA")and installed

    above the entrance to Room 105 in the Bronx Supreme Court as I walked in a public hallway

    on the first floor ofthe Bronx Supreme Court near that video security camera while I was

    heading to the public resource fair meeting that the Mayor and other government officials

    were then conducting inside ofthe Veterans Memorial Hall chamber located in that

    courthouse. I later received a video recording that was recorded by that video security camera

    on 5/23/17 for the entire time that I was in that courthouse on that date in response to a FOIL

    demand that I submitted to OCA for it. The following is a link to a copy ofthat video

    recording that I have made available on the Internet:

       https://drive.google.com/Qpen?id=lCrPPb8GZ05BgCBrAYzAK0OBV16oxK 5i

    That video recording shows the current date and time in its upper-left comer. I shared that

    video recording with Judge Schofield long before she issued her 9/30/19 decision. That video

    recording clearly shows me holding a large white bag in my right hand at 9:29 am on



                                            Page 7 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 8 of 16 PageID #: 278



     5/23/17. While 1 was in that courdiouse on 5/23/17,that bag contained a copy ofan order to

     show cause application that I filed on 5/19/17 in a lawsuit("my HRA lawsuit")that I

     commenced against HRA in Januaiy of2017 that remained sealed on 5/23/17 at my request.

     That video recording also shows New York State court officer Anthony Manzi at 9:49 am on

     5/23/17 illegally seizing that bag from directly in front of me in the immediate presence of

     other court officers and other law-enforcement personnel shortly after I lawfully placed it on

     a table that wasn't in use and was located in a public hallway in the Bronx Supreme Court.

     While I sought to attend the public resource fair meeting that the Mayor conducted on

     5/23/17 inside ofthe Bronx Supreme Court,I intended to engage in protected whistleblowing

     while lawftilly attending that public forum. Some ofthe whistleblowing that I sought to

     engage in then while talking with joumalists, members ofthe general public, Mr. Banks,the

     Mayor,and other government officials concerned the sum and substance of my HRA lawsuit

     partly because an attorney for HRA named Jeffrey Mosczyc illegally and jointly with New

     York State Supreme Court Judge Nancy Bannon stole away my opportunity and legal right to

     have testified as scheduled on 4/12/17 during an oral arguments hearing in my HRA lawsuit.

     That lawsuit remains active, is assigned the index number of 100054/2017, and is assigned to

     the New York State Supreme Court in Manhattan. Judge Nancy Bannon signed my 5/19/17

     order to show cause application in that lawsuit on 5/22/17. Some of my claims in that hybrid

     lawsuit comprised of Article 78 claims and plenary claims concerned housing matters and

     Judge Bannon is thankfully no longer assigned to that lawsuit. Repeated acts ofjudicial

     misconduct have occurred in that lawsuit by multiple judges assigned to it. Such acts of

     judicial misconduct that occurred in that lawsuit included twice disposing ofthat lawsuit in

     its entirety while I still had claims pending to be addressed in it and illegally granting an ex-




                                             Page 8 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 9 of 16 PageID #: 279




    parte adjournment application that was submitted by Jef&ey Mosczyc on 4/11/17 while

     illegally preventing me from challenging that application before it could be lawfully granted.

     Judge Bannon granted that application on the same date (4/11/17)that I participated with an

     attorney for HRA named Marin Gerber in a hearing by telephone in litigation against HRA

     that was recorded on audio and was closely related to my claims in my HRA lawsuit. I

     wasn't notified ofthe application that HRA's attorney filed ex-parte in my HRA lawsuit to

     be granted the adjournment that Judge Bannon illegally granted on 4/11/17 xmtil after it was

     illegally granted. That application was faxed to Judge Bannon's chambers on 4/5/17. All of

     what I just discussed occurred in spite ofthe fact that Judge Bannon scheduled an oral

    arguments hearing on 1/26/17 to be conducted on 4/12/17 in my HRA lawsuit. I intended to

    present oral arguments that would partly concern housing matters pertaining to where I reside

    on 4/12/17 during that scheduled oral arguments hearing. The information that I have just

     discussed is clearly sufficient to reasonably infer that HRA's attomey in my HRA lawsuit

    intended to and did, in fact, engage in patently illegal gamesmanship against me in that

    lawsuit by stealing away my opportunity and legal right to have my oral arguments hearing

    in that lawsuit conducted as scheduled on 4/12/17 and just one day after I had engaged in

    related litigation against HRA during a hearing with a different lawyer for HRA.

 6. The following is a link to a video recording that I have made available on the Intemet that I

    recorded with a cell phone on 8/25/19 at 5:25 pm inside ofthe building in which I reside:

        https://drive.google.com/open?id=lUsplZEKS4zLOxFrLRSMGx79TFTIg3whz

    That video recording shows paint that is cracked and peeling from the ceiling in the hallway

    located on the fourth floor in the building that is discussed within the excerpt that is shown at

    the top ofpage 6 in this letter. That recording also shows a large amount oftrash in the




                                           Page 9 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 10 of 16 PageID #: 280



      stairwell on the first floor in that building that is public housing for military veterans and is

      subsidized by HRA.The conditions that are shown in the video recording that Ijust

      discussed clearly do not befit what United States Judge William Pauley stated in the

      following excerpt fi*om USA v. New York City Housim Authority. Case No: 18-CV-5213

      (WHPXS.D.N.Y.)that corresponds to docket entry 64 in that case as he discussed

      appropriate living conditions that tenants who reside in public housing are entitled to:

         "For decades, Congress has addressed the importance ofensuring that public housing
         residents live in decent, safe, and sanitary conditions."

      The video recording that I just discussed and recorded on 8/25/19 is also significant because

      it confirms that deficiencies that existed on 5/23/17 in the building in which I reside and then

      recorded on video at 8:28 am on that date still persist in the building in which I reside due to

      negligence by HRA,Mr. Banks,the Mayor,Urban,and other government officials and

      agencies that I apprised about the deficiencies in the building in which I reside.

  7. Contrary to Mr. Berg's preposterous claims,I established grounds to be granted the ability to

      intervene in this action. It seems that Mr. Berg may wish to be refimded whatever he paid to

      go to law school because it seems that he either doesn't understand that the Fourteenth

      Amendment is part ofthe U.S. Constitution or that it includes provisions that concern equal

      protection for similarly-situated people that I have properly invoked to be granted the ability

      to intervene in this action.

   8. Mr. Berg improperly mischaracterized litigation that I have against the New York City

      Human Resources Administration("HRA")as an effort to "challenge an administrative

      determination" that HRA issued. That effort is instead about challenging unlawful actions

      that HRA took to my detriment that are tied to a patently illegal bait-and-switch fi-aud and

      forgery that HRA's personnel committed against me with respect to a binding and fully-


                                              Page 10 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 11 of 16 PageID #: 281




     enforceable apartment lease agreement that I signed in HRA's offices.

  9. Mr. Berg also failed to remind this Court that 28 U.S.C. §2201(a)contains the following

     terms that enable this Court to create an equitable remedy for me in this action in the form of

     a declaration that amounts to a finaljudgment or decree that relates to this action's subject

     matter:


        (a)In a case of actual controversy within its jurisdiction,except with respect to
        Federal taxes other than actions brought under section 7428 ofthe Internal Revenue Code
        of 1986,a proceeding under section 505 or 1146 oftitle 11, or in any civil action
        involving an antidumping or countervailing duty proceeding regarding a class or kind of
        merchandise ofa free trade area coimtry(as defined in section 516A(Q(10)ofthe Tariff
        Act of 1930),as determined by the administering authority, any court ofthe United
        States, upon the filing of an appropriate pleading, may declare the rights and other
        legal relations of any interested party seeking such declaration, whether or not
        further relief is or could be sought. Any such declaration shall have the force and
        effect of a final Judgment or decree and shaU be reviewable as such.

         (boldface formatting added for clarity)

  10. Contrary to how Mr. Berg fraudulently misrepresented the plain text ofFRCP Rule 24(a)(2)I

     in his letter dated 10/4/19 to me,the following is a pertinent excerpt from that plain text:

         "claims an interest relating to the property or transaction that is the subject ofthe action"

     By applying textualism to the preceding verbatim instead of paraphrased excerpt, it confirms

     that FRCP Rule 24(a)(2) doesn't require me to have "an interest in any "property or

     transaction" at issue in this action in order to be granted the ability to intervene in this action.

     Instead FRCP Rule 24(a)(2)requires me to have an interest "relating to"the property or

     transaction that is the subject ofthis action.

  11. Mr. Berg's discussion about litigation in which I'm involved in other cases is patently

     irrelevant and fraudulent largely because I'm not contesting the constitutionality ofNew

     York State's Rent Stabilization Laws in them that I seek to do in this action.

  12. Mr. Berg further fraudulently claimed to this Court that I haven't identified any cognizable



                                             Page 11 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 12 of 16 PageID #: 282



      claim in the letters that I have filed in this action. That assertion by him merely confirms that

      he really should tiy to be refunded his law school's tuition because he doesn't understand the

      sum and substance ofthe U.S. Constitution's Fourteenth Amendment and how it applies to

      my attempt to be granted the ability to intervene in this action.

   13. Although Mr. Berg stated in his 10/4/19 letter to me that some prior state court decisions that

      adversely impacted me are time-barred, he neglected to inform this Court that senior

      personnel who work for HRA that include its commissioner shirked their affirmative legal

      duty to ensure that I had access to effective legal assistance or legal representation from

      HRA's business partners when I first met HRA Commissioner Steven Banks on 3/1/16 and

      handed him roughly 6 court transcripts to establish that sufficient cause existed then for me

      to receive such legal assistance or legal representation to try to undo the state court decisions

      that adversely impacted me while Mr. Banks' wife(Jean Schneider) was the supervising

      judge citywide for New York City's housing courts and likely had sufficient power to

      directly or indirectly facilitate my efforts to have those adverse courts decisions undone on

      the merits. Mr. Berg similarly neglected to inform this Court that I may possibly be able to

      offset or undo the harm that I experienced from those adverse court decisions by having an

      attorney pursue a tortious interference claim on my behalf against thejudges who issued the

      adverse state court decisions while engaging in non-judicial acts for which there is no judicial

      immunity. It appears that such claims would be subject to a 6-year statute oflimitations and

      would therefore not be time-barred. It also appears that equitable tolling may apply to such a

      legal effort.

   14. Mr. Berg's contention that"intervention should be denied because Movant's participation in

      this action would "unduly delay or prejudice the adjudication ofthe original parties' rights"




                                             Page 12 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 13 of 16 PageID #: 283




     is greatly outweighed by the fact that New York State's Rent Stabilization Laws are

      unconstitutional largely because they violate the Fourteenth Amendment's due process and

     equal protection provisions that apply to similarly-situated people who:

         a. Didn't have the protections that New York State's Rent Stabilization Laws now offer

             tenants while contending with litigation in New York City's housing courts and were

             harmed as a proximate result ofthat fact when those cases ended.

         b. Can't benefit from the protections that New York State's Rent Stabilization Laws

             now offer tenants for active litigation because ofthe arbitrary and capricious effective

             date ofNew York State's new Rent Stabilization Laws.

  15. The following is a pertinent excerpt from CITIZENS AGAIST CAS. GAM., ERIE CTY. v.

     Kemvthorne.471 P. Supp. 2d 295(W.D.N.Y. 2007)that establishes that Mr. Berg's remark

     in his 10/4/19 letter that concerned me seeking to raise new issues in this action that are

     unrelated to this action's subject matter is irrelevant because the excerpt that follows

     confirms that I may be entitled to do so:

         "Amicus participation goes beyond its proper role ifthe submission is used to present
         wholly new issues not raised by the parties. Onondasa Indian Nation, 1997 U.S. Dist.
         LEXIS 9168 at *8-9(quoting Concerned Area Residents for the Env't v. Southview
         Farm, 834 F.Supp. 1410,1413(W.D.N.Y.1993^): Wissins Bros., Inc. v. Department of
         Energy, 667 F.2d 77 83(Em.App.l981)(absent exceptional circumstances, amicus
         curiae cannot implicate issues not presented by the parties)."

  16. Mr. Berg's remark about excessive motion practice and time-consuming ancillary litigation is

     conclusory and self-serving. For that reason, this Court that is a fact-finder should disregard

     that baseless assertion by him.

  17. Mr. Berg's remark about a letter that I filed in this action about the actual instead of

     perceived misconduct ofthe U.S. Marshals Service and other security personnel that they

     control is entirely irrelevant because one ofthe responsibilities that alljudges have is to



                                             Page 13 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 14 of 16 PageID #: 284




     control how courthouse personnel that include security personnel conduct themselves. I made

     that point very clear in my 10/1/19 letter that I filed in this action.

  18. Mr. Berg fraudulently neglected to mention the following in remarks he expressed about

     Judge Schofield's assignment to Komatsu v. City ofNew York'.

         a. She has repeatedly caused orders that she issued in that action to be vacated because

             of her errors.


         b. She lied by claiming that I filed irrelevant filings in that action.

         c. The U.S. Supreme Court issued pertinent findings about legal standards that apply to

             due process rights that confirm that my right to be heard at a meaningful time and in a

             meaningfiil manner that was tailored to my circumstances and capacity to be heard

             outweighs page limits that Judge Schofield would likely prefer that I stay within for

             the submissions that I have filed in Komatsu v. City ofNew York.

         d. Judge Schofield flagrantly violated my First Amendment and Fourteenth Amendment

             rights by imposing an unlawful prior restraint on my legal right to submit valid

             petitions in Komatsu v. City ofNew York to try to be granted redress for valid

             grievances.

  19. Mr. Berg fraudulently concealed the material fact that Judge Kuntz firaudulently claimed that

     I filed two non-meritorious applications to intervene in cases that he cited in his letter in spite

     ofthe fact no such determinations appeared on the dockets sheets for those cases for days

     that followed the date ofthe order in which Mr. Kuntz expressed that fraudulent finding. Mr.

     Kuntz also fraudulently claimed that my application to intervene in Demiravak v. De Blasio.

     E.D.N.Y. No. 18 Civ. 4723(WFK)(RER)was fnvolous. The term "fiivolous" concerns

     actions that are taken in bad faith. My attempt to intervene in Demiravak v. De Blasio was




                                              Page 14 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 15 of 16 PageID #: 285




     driven by a desire to persuade Mr. Kuntz to not allow the public's First Amendment rights to

     be violated by his decisions as I sought to use information that would likely become available

     in that action to substantiate claims that I asserted in Komatsu v. City ofNew York.

  20. Lastly, Mr. Berg neglected to mention in his 10/4/19 letter that Judge Schofield's 9/30/19

     decision in Komatsu v. City ofNew York was largely in my favor and enabled me to

     withstand baseless motions to dismiss that were filed in it. Mr. Berg also neglected to

     mention that Judge Schofield lied in that same 9/30/19 decision about materials facts that

     prompted me to file an appeal ofthat decision. He further neglected to mention in his 10/4/19

     letter that I filed a 47-page letter motion on 10/4/19 in Komatsu v. City ofNew York to point

     out to Judge Schofield what she lied about,fraudulently concealed, overlooked, and

     misapprehended in her 9/30/19 decision pursuant to FRCP Rule 60.


  For the reasons stated herein, the following applies:

     • The motions that I filed in this action to intervene should be granted.

     • This Court should treat Mr. Berg's 10/4/19 letter to me as a nullity due to defective

         service of papers.

     • Mr. Berg should be sanctioned by this Court for the reasons that I discussed earlier.

     • Mr. Berg should be directed to spend substantial time to carefully study the Fourteenth

         Amendment's terms.



  Thank you for your time and consideration.



  Regards,


  Towaki Komatsu




                                            Page 15 of 15
Case 1:19-cv-04087-MKB-RLM Document 42 Filed 10/08/19 Page 16 of 16 PageID #: 286


  From: TowakLKomatsu@yahoo.com
Subject: New HRA & Urban Pathways fuck ups
  Date: October 8,2019 at 4:08 AM
    To: Banksst@clss.nyc.gov
    Cc: Scaliaa@dss.nyc.gov, romainp@dss.nyc.gov

       Mr. Banks,

      Yesterday and today, there hasn't been hot water where I reside. As you're aware, I reside in a building run by Urban Pathways, Inc.
      ("Urban")and HRA has been shirking its legal duty to provide oversight of how Urban operates in relation to that building with funding
       it gets from taxpayers through HRA's contract with Urban for that building.

       You're also aware that you have lied to my face about oversight of Urban for that building. Think back to our chat during a Brooklyn
       public resource fair that the Mayor conducted in August of 2018 as an example. You told me then that there had been a lot of
      oversight of that building by HRA and HPD. One of the claims that I asserted against HRA and is pending in litigation is about a lack of
       hot water where I reside in 2016.

       Instead of acting respobsibly, HRA's personnel have illegally and repeatedly ignored my complaints against Urban, allowed
       deficiencies in the building where I reside to persist, and used a fraudulent pretext to bar me from HRA's offices at 150 Greenwich
       Street in Manhattan to deny me my Fourteenth Amendment and Rrst Amendment right to inspect draft contracts in those specific
       offices to prepare for public hearings about those contracts.

       On 9/30/19, a judge issued a decision in my federal lawsuit against the City that was nearly entirely in my favor that has enabled me to
       proceed to discovery. Prior to doing so,she issued an order on 8/27/19 that authorized me to file a further amended complaint in it.
       Through such a complaint, I'm authorized to add you, other HRA personnel, and others as defendants in that action and assert valid
       claims against all of the defendants. I intend to soon do so, particularly since you and other HRA personnel have been and continue to
       be deceitful instead of cooperative in performing your legal duties.

       From,

       Towaki Komatsu
